            Case 2:13-mj-00047-BAT              Document 28    Filed 01/31/13      Page 1 of 3




 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                 Plaintiff,             Case No. MJ13-47

10          v.                                            DETENTION ORDER

11 MICHAEL JOHN SURYAN,

12                                 Defendant.

13 Offenses charged:

14               •   Bank Fraud,
                 •   Access Device,
15               •   Identity Fraud, and
                 •   Aggravated Identity Theft.
16
     Date of Detention Hearing: January 31, 2013.
17
            The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),
18
     and based upon the factual findings and statement of reasons for detention hereafter set forth,
19
     finds that no condition or combination of conditions which the defendant can meet will
20
     reasonably assure the appearance of the defendant as required and the safety of any other person
21
     and the community.
22

23



     DETENTION ORDER - 1
            Case 2:13-mj-00047-BAT          Document 28        Filed 01/31/13     Page 2 of 3




 1             FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2          Defendant has been living in hotels or sleeping on couches of friends with no stable

 3 residence. He has not worked since 2008. He has long standing drug addiction problems and

 4 convictions for drug offenses. He has a prior felony conviction for fraud related crimes. In the

 5 last year and a half, he has failed to appear for required court hearings. The evidence against

 6 defendant is strong based on alleged statements he made and the physical evidence that has been

 7 seized. Defendant has the demonstrated ability to create false governmental identifications. He

 8 has the means to evade prosecution if released and the incentive given the significant term of

 9 imprisonment he faces if convicted.

10          It is therefore ORDERED:

11          (1)    Defendant shall be detained pending trial and committed to the custody of the

12 Attorney General for confinement in a correctional facility separate, to the extent practicable,

13 from persons awaiting or serving sentences, or being held in custody pending appeal;

14          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

15 counsel;

16          (3)    On order of a court of the United States or on request of an attorney for the

17 Government, the person in charge of the correctional facility in which Defendant is confined

18 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

19 connection with a court proceeding; and

20 ///

21 ///

22 ///

23 ///



     DETENTION ORDER - 2
            Case 2:13-mj-00047-BAT          Document 28        Filed 01/31/13      Page 3 of 3




 1          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

 2 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

 3 Officer.

 4          DATED this 31st of January, 2013.

 5

 6                                                        A
                                                          BRIAN A. TSUCHIDA
 7                                                        United States Magistrate Judge

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23



     DETENTION ORDER - 3
